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MOR-1 UNITED STATES BANKRUPTCY COURT
CASE NAME: Watson Grinding and Manufacturing Co. PETITION DATE: 2/6/2020
CASE NUMBER: 20-30967 DISTRICT OF TEXAS: Southern
PROPOSED PLAN DATE: Unknown DIVISION: Houston

MONTHLY OPERATING REPORT SUMMARY FOR JUNE 2020

MONTH 02/01/20-02/29/20 |03/01/20-03/31/20 |04/01/20-04/30/20 |05/01/20-05/31/20 |06/01/20-06/30/20 I

REVENUES (MOR-6) 0.00 18,220.00 35,200.00 11,746.00 0.00 0.00
INCOME BEFORE INT; DEPREC/TAX (MOR-6) -368,860.09 -406,099.37 -281,611.34 -219,236.21 -168,999.86 0.00
NET INCOME (LOSS) (MOR-6) -374,402.09 243,900.63 -281,611.34 44,241.27 -168,999.86 0.00
PAYMENTS TO INSIDERS (MOR-9) 59,221.49 33,601.98 33,601.98 22,931.10 6,130.11 0.00
PAYMENTS TO PROFESSIONALS (MOR-9) 0.00 0.00 0.00 108,706.95 966,788.60 0.00
TOTAL DISBURSEMENTS (MOR-7) 375,719.02 159,067.84 142,305.17 143,324.69 636,925.83 0.00

 

 

 

 

 

 

 

 

 

 

 

REQUIRED INSURANCE MAINTAINED

 

 

AS OF SIGNATURE DATE EXP.
DATE
CASUALTY YES (x) NO() 11/30/2020
LIABILITY YES (x) NO() 11/30/2020
VEHICLE YES (x) NO() 14/30/2020
WORKER'S YES (x) NO() 11/30/2020
OTHER YES (x) NO() 11/30/2020

 

 

ATTORNEY NAME:

FIRM NAME:
ADDRESS:

CITY, STATE, ZIP:

TELEPHONE'FAX:

MOR-1

Heather Mcintyre

 

HughesWattersAskanase

 

1201 Louisiana St

 

28th Floor

 

Houston, TX 77002
713-328-1920

Ch. 1 Trace &

***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***

 

CIRCLE ONE

Are all accounts receivable being collected within terms? Yes No

Are all post-petition liabilities, including taxes, being paid within terms? Yes Noa

Have any pre-petition liabilities been paid? Yes No
lf so, describe

Are all funds received being deposited into DIP bank accounts? Yes No

Were any assets disposed of outside the normal course of business? Yes No

If so, describe

 

Are all U.S. Trustee Quarterly Fee Payments current? Yes No
What is the status of your Plan of Reorganization?

 

 

! certify under penalty of perjury that the following complete

U

  
 

&

Monthly Operating Report (MOR), consisting of MOR-1 through
MOR-9 plis-attachments, is ty1 and correct, Op
MOR ATIIN Ty | Hil

 

(ORIGINAL SIGNATURE)

Janet Northrup, Trustee 4 /
(PRINT NAME OF SIGNATORY) DATE: j oD

Reservation of Rights: The-Bebter reserves all rights to amend or supplement the MOR in all respects, as may be necessary or appropriate, but shall be under no obligation to do
so. Nothing contained in this MOR shall constitute a waiver of any of the Debtor's rights or an admission with respect to its Chapter 11.

Upon appointment of Trustee, some funds may have been remitted directly to Trustee's cash account and some disbersments may have been paid from it.

** Some regularly recurring journal entries have not been posted as of 06.30.2020, certain accruals have not been recorded based on the timing (due date) for the reports.
CASE NAME:
CASE NUMBER: 20-30967

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Watson Grinding and Manufacturing Co.

COMPARATIVE BALANCE SHEETS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ASSETS FILING DATE* MONTH MONTH MONTH MONTH MONTH MONTH
Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020
CURRENT ASSETS
Cash - Operating/Payroll 879,294.94 792,002.28 1,370,501.15 1,375,065.51 1 522,242.56 1,400,842.77
Cash - Insurance Proceeds FN1 3,000,000.00 3,000,000.00 3,000,000.00 3,000,000.00 3,000,000.00 3,000,000.00
Accounts Receivable, Net 2,265,107.48 1,521,243.55 1,503,905.55 1,402,335.55 1,383,161.55 1,383,161.55
Inventory: Lower of Cost or Market
Prepaid Expenses 393,085.60 393,085.60 393,085.60 393,085.60 393,085.60 393,085.60
Prepaid Insurances FN2 226,068.40 226,068.40 226,068.40 226,068.40 226,068.40 226,068.40
Deposits FN3 317,423.10 317,423.10 317,423.10 317,423.10 317,423.10 317,423.10
llInvestments
Insurance 26,000,000.00 26,000,000.00 26,000,000.00 26,000,000.00 26,000,000.00 26,000,000.00
Other FN5 10,092.22 9,783.96 9,783.96 9,783.96 9,783.96 9,783.96
TOTAL CURRENT ASSETS 33,091,071.74 32,259,606.89 32,820,767.76 32,723,762.12 32,85 1,765.17 32,730,365.38 0.00
PROPERTY, PLANT & EQUIP. @ COS1 FN4 4,239.99 4,239.99 4,239.99 4,239.99 4,239.99 4,239.99
Less Accumulated Depreciation 0.00 0.00 0.00 0.00 0.00 0.00
NET BOOK VALUE OF PP & E 4,239.99 4,239.99 4,239.99 4,239.99 4,239.99 4,239.99 0.00
OTHER ASSETS
1.
2.
3:
4.
TOTAL ASSETS $33,095,311.73 | $32,263,846.88 | $32.825,.007.75 | $32,728,002.11 | $32,856,005.16 | $32,734,605.37 $0.00
* Per Schedules and Statement of Affairs
MOR-2 Revised 07.01/98
FN1 Received on 02/03/2019 by United Fire Lloyds (General Liability - $2,000,000 & Automobile Liability - $1,000,000)
FN2 Prepaid Insurance - Al Thurmond Agency, Inc.
FN3 Equipment Deposit - Dunn's Testing
FN4 (2) 2010 Crown Victoria, 2001 F-250, and 2006 GMC Utility Truck - Appraisal Value
FNS Employee Receivable ($2,095.22) and Other Receivable ($7,997.00)

 
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CASE NAME:
CASE NUMBER: 20-30967

Watson Grinding and Manufacturing Co.

COMPARATIVE BALANCE SHEETS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LIABILITIES & OWNER'S FILING DATE* MONTH MONTH MONTH MONTH MONTH MONTH
EQUITY Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020
LIABILITIES
POST-PETITION LIABILITIES(MOR-4) 0.00 384.00 269,745.90 192,044.57 133,981.09 118,862.49 0.00
PRE-PETITION LIABILITIES if :
Notes Payable - Secured FN2 3,218,120.00 3,218,120.00 3,218,120.00 3,218,120.00 3,218,120.00 3,218,120.00
Priority Debt - Unsecured FN3 144,921.78 144,921.78 144,921.78 144,921.78 144,921.78 144,921.78
Federal Income Tax
FICA/Withholding
Unsecured Debt FN4 | FNS 3,075,032.64 3,059,799.23 3,059,799,23 3,059,799.23 3,059,799.23 3,059,799.23
Other
[TOTAL PRE-PETITION LIABILITIES 6,438,074.42 6,422,841.01 6,422,841.01 6,422,841.01 6,422,841.01 6,422,841.01 0.00
TOTAL LIABILITIES 6,438,074.42 6,423,225.01 6,692,586.91 6,614,885.58 6,556,822.10 6,541,703.50 0.00
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL
RETAINED EARNINGS: Filing Date 26,657,237.31 26,657,237.31 26,657,237.31 26,657,237.31 26,657,237.31 26,657,237.31
RETAINED EARNINGS: Post Filing Date 0.00 -374,402.09 243,900.63 -281,611.34 44,241.27 -168,999.86 0.00
RETAINED EARNINGS: Pre / Post Filing Date Adjustments FNI | FN6 0.00 -442,213.35 -768,717.10 -262,509.44 ~-402,295,52 -295,335.58
TOTAL OWNER'S EQUITY (NET WORTH) 26,657,237.31 25,840,621.87| 26,132,420.84 26,113,116.53 26,299,183.06 26,192,901.87 0.00
ABILITIES &
OWNERS EQUITY $33,095,311.73 | $32,263,846.88 | $32,825,007.75 | $32,728,002.11 | $32,856,005.16 | $32,734,605.37 $0.00
* Per Schedules and Statement of Affairs
MOR-3 Revised 07/01/98
$0.00 $0.00 $0.00 $0.00 $0.00 $0.00 $0.00
FN1 Adjustments such as payments of pre-petition debt, reduction of actual post petition debt, and other general operational adjustments
FN2 Texas Capital Bank Borrowing Base Line of Credit ($3,000,000.00); Harris County Tax Assessor-Collector ($218,120.00)
FN3 Texas Comptroller of Public Accounts ($86,606.38); Accrued PTO ($58,315.40)
FN4 Significant number Litigation Claims have been filed but the pending amounts are Unknown at this time, thus excluded from the total
FN5 Cash Collateral Budget approved by the court to pay Business Insurance premium - Texas Mutual Insurance Company ($5,899.41); UFG Insurance ($9,334.00)
FN6 Accounts Receivable based off of the 01.23.2020 Trial Balance but cash as of the filing date 02.06.2020 --> AR Payments received

between those (2) dates: January Electronic Payments ($187,081.90); January Lockbox Payments ($42,644.38); February Electronic
Payments ($94,082.35); February Lockbox Payments ($80,365.00)

 
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CASE NAME:

CASE NUMBER: 20-30967

Watson Grinding and Manufacturing Co.

SCHEDULE OF POST-PETITION LIABILITIES

 

MONTH
Feb 2020

MONTH
Mar 2020

MONTH
Apr 2020

MONTH
May 2020

MONTH

June 2020

MONTH

 

TRADE ACCOUNTS PAYABLE

384.00

789.00

6,629.57

6,862.49

28,862.49

 

TAX PAYABLE

 

Federal Payroll Taxes

 

State Payroll Taxes

 

Ad Valorem Taxes

 

Other Taxes

 

TOTAL TAXES PAYABLE

0.00

0.00

0.00

0.00

0.00

0.00

 

SECURED DEBT POST-PETITION

 

ACCRUED INTEREST PAYABLE

 

 

ACCRUED PROFESSIONAL FEES*

 

OTHER ACCRUED LIABILITIES

 

1. Jones Murray and Beatty LLP FNI1 |

FN2

0.00

75,000.00

75,000.00

50,000.00

50,000.00

 

2. UCC Counsel FN1 |

FN2

0.00

100,000.00

100,000.00

70,000.00

40,000.00

 

3. MACCO Restructuring Group

FN2

0.00

93,956.90

10,415.00

7,118.60

0.00

 

4. US Trustee Fees (Unpaid)

FN3

0.00

0.00

0.00

0.00

0.00

 

 

TOTAL POST-PETITION LIABILITIES (MOR-3)

 

$384.00

 

$269,745.90

 

$192,044.57

 

$133,981.09

 

$118,862.49

 

 

$0.00

 

*Payment requires Court Approval

MOR-4

FN1
FN2
FN3

Amount for March, April, May, and June 2020 is an estimate
Aggregated professional / legal fees beyond retainers
US Trustee Fees ($4,875.00) were paid on check number 068767 and mailed on 4/22/2020 but had not cleared the bank as of the end of April

Revised 07/01/98

 
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CASE NAME: Watson Grinding and Manufacturing Co.

CASE NUMBER: 20-30967

000.00
1,641.62

4,431.87
789.00

ACCOUNTS
000.00
1,641.62
4,431.87
789.00

AGING OF POST-PETITION LIABILITIES

MONTH

FEDERAL
TAXES

June 2020

STATE
TAXES

Page 5of 9

AD
OTHER TAXES

 

862.49

MONTH Feb 2020

0-30 DAYS 0.00

31-60 DAYS 335 21

61-90 DAYS 1 836.90

91+ DAYS 147,140.44
‘AL 1,571,243.55

862.49

Mar 2020

.00

0.00
314,723.21

1,170,962.34
1,503,905.55

00

AGING OF ACCOUNTS RECEIVABLE

Apr 2020

35
18

.00

.00

0.00

915.55
335.55

May 2020

11,746.00
35,200.00
0.00
1,336,215.55
1,383,161.55

June 2020

0.00
11,746.00
35,200.00

I 15.55
1,383,161.55

 

MOR-5

Revised 07/01/98
CASE NAME:

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Watson Grinding and Manufacturing Co.
CASE NUMBER: 20-30967

STATEMENT OF INCOME (LOSS)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

* Footnote Mandatory.

** Unusual andor infrequent item(s) outside the ordinary course of business requires footnote.

MOR-6

FN1
FN2

Insurance Payment
Aggregated professional / legal fees beyond retainers

MONTH MONTH MONTH MONTH MONTH MONTH FILING TO
Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 DATE
REVENUES (MOR-1) 0.00 18,220.00 35,200.00 11,746.00 0.00 65,166.00
TOTAL COST OF REVENUES 225,281.58 64,301.31 56,818.74 45,019.53 51,838.07 443,259.23
IGROSS PROFIT -225,281.58 -46,081.31 -21,618.74 -33,273.53 -51,838.07 0.00 -378,093.23
OPERATING EXPENSES:
Selling & Marketing 0.00 500.00 500.00
General & Administrative 3,345.42 2,345.89 3,477.23 5,668.01 1,200.00 16,036.55
Insiders Compensation 59,221.49 33,601.98 33,601.98 23,276.98 6,130.11 155,832.54
Payroll & Payroll Taxes 78,497.02 51,387.22 27,793.04 28,371.74 19,126.16 205,175.18
Professional Fees FN2 0.00 95,126.90 12,865.00 7,118.60 0.00 115,110.50
Legal Fees FN2 0.00 175,000.00 180,930.00 120,000.00 90,000.00 565,930.00
Bank Fees 2,514.58 2,056.07 1,325.35 [527.35 705.52 8,128.87
Commissions 0.00 0.00
TOTAL OPERATING EXPENSES 143,578.51 360,018.06 259,992.60 185,962.68 117,161.79 0.00 1,066,713.64
INCOME BEFORE INT, DEPR/TAX (MOR-1) -368,860.09 -406,099.37 -281,611.34 -219,236.21 -168,999.86 0.00 -1,444,806.87
INTEREST EXPENSE 5,542.00 5,542.00
DEPRECIATION 0.00
OTHER (INCOME) EXPENSE* FN1 -650,000.00 -263,477.48 -913,477.48
OTHER ITEMS** 0.00
TOTAL INT, DEPR & OTHER ITEMS 5,542.00 -650,000.00 0.00 -263,477.48 0.00 0.00 -907,935.48
NET INCOME BEFORE TAXES -374,402.09 243,900.63 -281,611.34 44,241.27 -168,999.86 0.00 -536,871.39
|FEDERAL INCOME TAXES 0.00
Iver INCOME (LOSS) (MOR-1) ($374,402.09) $243,900.63 ($281,611.34) $44,241.27 ($168,999.86) $0.00 ($536,871.39)|
Accrual Accounting Required, Otherwise Footnote with Explanation.

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CASE NAME:
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Watson Grinding and Manufacturing Co.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FN2 Insurance Payment

CASH RECEIPTS AND MONTH MONTH MONTH MONTH MONTH MONTH FILING TO
DISBURSEMENTS Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 DATE

1. CASH-BEGINNING OF MONTH $3,879,294.94 | $3,794,011.11 | $4,370,501.27 | $4,375,065.51 | $4,522,242.56 | $4,400,842.77 | $3,879,294.94
RECEIPTS:

2. CASH SALES 0.00
3. COLLECTION OF ACCOUNTS RECEIVABLE 290,435.19 85,558.00 146,869.41 27,024.26 515,526.04 1,065,412.90
4. LOANS & ADVANCES (attach list) 0.00
5. SALE OF ASSETS 0.00
6. CONTRIBUTIONS 0.00
7. OTHER (Insurance Payment) FN2 650,000.00 263,477.48 913,477.48
ITOTAL RECEIPTS** 290,435.19 735,558.00 146,869.41 290,501.74 515,526.04 0.00 1,978,890.38
Withdrawal) Contribution by Individual Debtor MFR-2* 0.00
DISBURSEMENTS:

7a. NET PAYROLL 78,497.02 51,387.22 27,793.04 28,371.74 19,126.16 205,175.18
7b. INSIDER COMPENSATION 59,221.49 33,601.98 33,601.98 22,931.10 6,130.11 0.00 155,486.66
8. PAYROLL TAXES PAID 0.00
9. SALES, USE & OTHER TAXES PAID 0.00
10. SECURED/RENTAL/LEASES 0.00
11. UTILITIES & TELEPHONE 0.00
12, INSURANCE 15,233.41 4,110.37 8,220.74 23,715.37 11,610.37 62,890.26
13. INVENTORY PURCHASES 0.00
14. VEHICLE EXPENSES 2,650.00 2,650.00
15, TRAVEL & ENTERTAINMENT 0.00
16, REPAIRS, MAINTENANCE & SUPPLIES 0.00
17, ADMINISTRATIVE & SELLING 207,846.27 69,968.27 72,689.41 63,431.48 33,270.59 447,206.02
18. INTEREST EXPENSE 12,270.83 12,270.83
TOTAL DISBURSEMENTS FROM OPERATIONS 375,719.02 159,067.84 142,305.17 138,449.69 70,137.23 0.00 885,678.95
19. PROFESSIONAL FEES 566,788.60 566,788.60
20. U.S. TRUSTEE FEES 4,875.00 4,875.00
21. OTHER REORGANIZATION EXPENSES (attach list) 0.00
TOTAL DISBURSEMENTS** 375,719.02 159,067.84 142,305.17 143,324.69 636,925.83 0.00 1,457,342.55
22. NET CASH FLOW -85,283.83 576,490.16 4,564.24 147,177.05 -121,399.79 0.00 521,547.83
b3. CASH - END OF MONTH (MOR-2) FN1 | $3,794,011.11 | $4,370,501.27 | $4,375,065.51 | $4,522,242.56 | $4,400,842.77 | $4,400,842.77 | $4,400,842.77

MOR-7 * Applies to Individual debtors only
**Numbers for the current month should balance (match) Revised 07/01/98
RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
FN1 Variance due to Petty Cash / Cash on Hand - $2,008.83
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CASENAME: Watson Grinding and Manufacturing Co.

CASE NUMBER: 20-30967

TYPE
BALANCE
IN TRANSIT
ANDING CHECKS
BANK BALANCE
CASH - PER BOOKS
FNI
BETWEEN ACCOUNTS

DEBTOR MFR-2
DISBURSEMENTS*
CASH - PER BOOKS

CASH ACCOUNT RECONCILIATION
MONTH OF June 2020

OPERATING
314

1

3.37
0.00
26

$513,184.11
183.97

0.00
0.00

0.00
86

13,184.11

PAYROLL

5,426.48

0.00
0.00

426.48
5,426.48

0.00
0.00

0.00
0.00

426.48

OPERATING

0.00
0.00
9,00

$0.00
.30
515,494.12
-l 82

0.00
1,101.60
00

Insurance Proceeds 1
3,174,971.25
0.00
0.00
$3,1 1,25
174 25
0.00
0.00

0.00
0.00
1.25

Insurance Proceeds 2
263,448.73
0.00
0.00
$263,448.73
263,448.73
0.00
0.00

0.00
0.00
448.73

 

TRUSTEE ACCOUNT
44 37
0.00
0.00
$441,803.37
0,00
31.92
82

0.00
37
37

MOR-8 *Numbers should balance (match) TOTAL RECEIPTS an Revised 07.01.98
TOTAL DISBURSEMENTS lines on MOR-7
FN4 $515,494.12: received by Watson Valve on behaif of Watson Grinding and transferred to Grinding's account in June.

FN2 $1,020,595.82: transferred to a Independent Bank held by the appointed Trustee.
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CASE NAME: Watson Grinding and Manufacturing Co.
CASE NUMBER: 20-30967

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.

 

 

Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (A

 

ttach additional pages as necessary).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH MONTH MONTH MONTH MONTH MONTH
INSIDERS: NAME/COMP TYPE

Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020

1. John Watson 26,395.33 12,260.22 12,260.22 12,260.22 6,130.11

2. Robert White 16,418.58 10,647.54 10,647.54 5,323.77 0.00

3. Jason White 16,407.58 10,694.22 10,694.22 5,347.11 0.00

4. Judy White 0.00 0.00 0.00 0.00 0.00

5. Betty Sue Watson 0.00 0.00 0.00 0.00 0.00

6.

TOTAL INSIDERS (MOR-1) $59,221.49 $33,601.98 $33,601.98 $22,931.10 $6,130.11 $0.00
MONTH MONTH MONTH MONTH MONTH MONTH
PROFESSIONALS

Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020

1. Jones Murray and Beatty LLP 0.00 0.00 0.00 0.00 248,640.14

2. MACCO Restructuring Group 0.00 0.00 0.00 0.00 0.00

3. Porter Hedges LLP 0.00 0.00 0.00 108,706.95 262,250.42

4, Burns Bowen Blair LLP 0.00 0.00 0.00 0.00 46,847.04

5. Cummings and Houston LLP 0.00 0.00 0.00 0.00 9,051.00

6.

TOTAL PROFESSIONALS — (MOR-1) $0.00 $0.00 $0.00 $108,706.95 $566,788.60 $0.00

 

MOR-9

Revised 07/01/98

 
